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                                            Brendan Thorp
Education:
Saint Joseph’s University, Philadelphia, PA
Graduated - Major: Bachelor of Arts International Relations - Minor: Asian Studies - September 14th, 2019
GPA: 3.46
Honors:
    ● Member of Sigma Iota Rho – Honor Society for International Studies
    ● Atlantic 10 Commissioner's Honor Roll
    ● SJU Athletic Director's Honor Roll

Professional Experience:
Intern, European Parliament, Brussels, Belgium                                             January 2019 - April 2019
    ●     Worked in the office of Alfred Sant; Member of the European Parliament (MEP) and former Prime Minister of
          Malta
    ●     Attended and generated summaries of committee meetings the MEP served on including Economic and Monetary
          Affairs; Committee on Budgets; Special Committee on Financial Crimes, Tax Evasion and Tax Avoidance and the
          Delegation for relations with the United States and Russia
    ●     Collaborated with other MEP offices and staff members on roll-call vote procedures
    ●     Compiled results of legislative votes by the MEP and assisted in coordinating written explanations of votes for
          distribution to constituents and published on European Parliament website

Intern, FreeMuslim Association, Inc., Washington, DC.                                        May 2017 - August 2017
    ●     Worked in the office of this Non-Governmental Organization (NGO) dedicating its effort to give to the public
          valuable educational resources towards using non-violent approaches to prevent extremism
    ●     Handle the tasks of petitioning members of the Congress and the Senate to recognize the threat of right-wing
          extremism to Muslim Americans
    ●     Wrote and edited advocacy articles and press releases to encourage inventive and collaborative programming to
          strengthen the peace-building practice in the face of extremism
    ●     Ran official FreeMuslim Twitter page updating followers on new posts and responding to recent events
    ●     Observed extremist group rallies and briefed NGO personnel on observations of the ideas that motivated the
          groups represented

Additional Experience and Volunteer Involvement
Representative of International Relations Department                                      September 2017 - May 2019
    ●     Interacted with accepted students about curriculum of the department
    ●     Worked with department personnel to promote interest in global affairs
Adopt a Pop, Saint Joseph’s University, Philadelphia, PA                                  September 2017 - May 2019
    ●     Engage with retired Jesuit priests in recreational and social activities
Minister of Hospitality, Church of the Nativity, Fair Haven, NJ                      September 2011 - September 2017
    ●     Greeted parishioners in a friendly manner and provided assistance to people in need
    ●     Assisted with the collection of weekly offerings of the parishioners
Lifeguard, YMCA, Red Bank, NJ                                                             July 2013 - September 2017
    ●     Monitored safety and well-being of all members and enforced pool rules and regulations
    ●     Recognized medical emergencies and responded with appropriate action
Activities:
    ●     Sigma Iota Rho Member                                                                     April 2018 - Present
    ●     Division 1 Cross Country, Winter Track and Spring Track program                         July 2015 - May 2017
Skills:
    ●     Proficient in the use of Geographic Information System (GIS), Microsoft Word, Excel, PowerPoint
